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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

ATLAS DATA PRIVACY                    :                CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :
THOMSON REUTERS CORPORATION,          :                NO. 24-4269
et al.                                :

                                  ORDER

           AND NOW, this 1st day of May 2025, for the reasons

stated in the foregoing Memorandum, it is hereby ORDERED that

the motion of defendants Thomson Reuters Corporation and Thomson

Reuters Canada Limited (Doc. #72) to dismiss the complaint as to

them under Rule 12(b)(5) of the Federal Rules of Civil Procedure

is GRANTED without prejudice.



                                          BY THE COURT:



                                          /s/ Harvey Bartle III
                                                                           J.
